Case 6:20-cv-01331-RRS-CBW Document 1-1 Filed 10/14/20 Page 1 of 14 PageID #: 6




                                  UNITED STATES DISTRICT COURT


                                 WESTERN DISTRICT OF LOUISIANA


                                         LAFAYETTE DIVISION



  GLORIA JACCUZZO AND                                            CIVIL ACTION NO.
  KENNETH P. JACCUZZO
                                                                 JUDGE
  VERSUS
                                                                 MAGISTRATE JUDGE
  HOME DEPOT U.S.A., INC.




STATE OF LOUISIANA


PARISH OF ORLEANS


                                               AFFIDAVIT


             BEFORE ME, the undersigned authority, appeared


                                          SUSAN M. CARUSO


who, after being duly sworn, based on personal knowledge did state as follows:

1.           I am counsel for defendant, Home Depot U.S.A., Inc. ("Home Depot").


2.           This civil action was filed by plaintiffs, Gloria Jaccuzzo ("Jaccuzzo") and Kenneth P.

             Jaccuzzo (sometimes collectively "Plaintiffs"), on September 15, 2020, in the 15th

             Judicial District Court for the Parish of Lafayette, State of Louisiana, bearing case

             number C-20204511, Division "B," seeking to recover damages for personal injuries


             allegedly related to a trip and fall accident at a Home Depot store located in Lafayette,

             Louisiana.




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3.           Home Depot, was at the time of the filing of this action, and still is, a foreign entity


             incorporated under the laws of Delaware, with its principal place of business in Atlanta,

             Georgia.


4.           The Petition for Damages ("Petition") and Citation were served on Home Depot through


             its registered agent for service of process on September 25, 2020.


5.           Before suit was filed, Home Depot received a written settlement demand which shows


             that the amount in controversy exceeds the Court's jurisdictional threshold of $75,000,

             exclusive of interest and costs. Specifically, through correspondence dated August 17.

             2020, Home Depot received a demand in the amount of $125,000 to settle Jaccuzzo's


             personal injury claims. See, Plaintiff's settlement demand attached hereto as Exhibit "1. "

6.           Along with the settlement demand dated August 1 7, 2020, Home Depot received certain


             medical records, which indicate: (1) Jaccuzzo was 78 years old at the time of the alleged

             trip and fall; (2) Jaccuzzo sustained a right shoulder dislocation that required a reduction


             procedure at Our Lady of Lourdes Regional Medical Center; (3) treating orthopedic


             surgeon, Dr. Harold J. Granger, has diagnosed right shoulder impingement syndrome and


             bursitis of the right shoulder "same as complete tear of the right rotator cuff," which have

             required physical therapy and injection therapy; and (4) to date, Jaccuzzo has incurred

             $13,829.40, and future diagnostic and medical procedures may include an EMG and


             shoulder arthroscopy. See, Jaccuzzo 's medical records attached hereto as Exhibit "2, in


             globo. "


7.           While Home Depot denies liability and damages, quantum research reveals that general


             damage awards related to injuries similar to those alleged in this case may exceed




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             $75,000 in judgment value, exclusive of interest and costs. See, e.g., Fusilier v. Allstate

             Ins. Co., No. 2015-5267 on the docket of the 15th Judicial District Court, as summarized

             at 2018 WL 8899124 (awarding $76,500 in general damages related to shoulder

             impingement syndrome); Dupre v. Maison Blanche, Inc., as summarized at 1996 WL

             33318468 (awarding $100,000 in general damages to 78 year old plaintiff related to a

             shoulder dislocation and fracture).


8.           The foregoing is true and correct to the best of my knowledge.




                                                   1   jf m ,
                                                   SUSAN M. CARUSO
                                                                         X-U-




SWORN AND SUBSCRIBED


BEFORE ME, THIS              H1* DAY

OF OCTOBER, 2020.




         L•
NOTARY PUBLIC
                        [is* h6
               M DAVIS READ* .




00915289-1
                                                                                           EXHIBIT A
              Case 6:20-cv-01331-RRS-CBW Document 1-1 Filed 10/14/20 Page 4 of 14 PageID #: 9
BEST IMAGE POSSIBLE




                                                      THE LAW OFFICES OF

                                          KENNETH W. DEI FAN
                                           417 W. UNIVERSITY AVENUE • P.O. BOX 4325
              KENNETH W. DEJEAN                    LAFAYETTE, LOUISIANA 70502                          ADAM R. CREDEUR
              KWDEJEAN@KWDEJEAN.COM          PHONE    337-235-5294 • FAX         337-235-1095          ADAM@KWDEJEAN.COM


                                                                                                      NATALIE M. DEJEAN
                                                                                                      natalie@kwdejean.com




                                                           August 17, 2020



                                                                Via E-mail: lindsey.anderson@sedgwick.com
                                                                and Certified Mail, Return Receipt. Requested No.:
                                                                7018 1130 0002 1431 4226




                 Sedgwick Claims Management Services, Inc.
                 Attention: Llndsey Anderson
                 P.O. Box 14155
                .Lexington, KY 40512-4155



                                                                Re:          My Client: Gloria J. Jaecuzzo
                                                                             Your Claim No.: 20191003167
                                                                             DOA: October 3, 2019
                                                                             Our File No.: D19-3016

                 Dear Ms. Anderson:


                I am writing to present you with a settlement offer on behalf of my client, Gloria J. Jaccuzzo, in
                hopes of resolving this matter. As you are aware, on October 3, 2019, Mrs. Jaccuzzo was a
                 customer at the Home Depot store located at 3721 Ambassador Caffery Parkway, Lafayette,
                 Louisiana when suddenly and without warning, she was caused to trip and tall due to an object m
                the aisleway.
                                                       Injuries and Treatment:


                As a result of the October 3, 2019 incident, Gloria Jaccuzzo, who was 78 years old at the time,
                 sustained injuries including, but not limited to an anterior dislocation of her right shoulder.


                Immediately following the incident, Mrs. Jaccuzzo was transported by Acadian Ambulance to the
                Emergency Room at Our Lady of Lourdes Regional Medical Center where she underwent front,
                 lateral and trans-scapular x-rays of her right shoulder, which revealed an anterior dislocation.
                 While at Lourdes, Mrs. Jaccuzzo was placed under anesthesia and underwent a relocation of her
                right 3houldcr.


                                                              Page 1 of 3




                                             WWW.KWDEJEAN.COM

  8-26-2020                                                    20191003167                               EXHIBIT 1 120200826071455
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                   On October 7, 2019, Mrs. Jaccuzzo, as instructed by the emergency room physicians at Lourdes,
                   followed up with her Orthopedist, Dr. Harold Granger of Hamilton Medical Group, for the injuries
                   she sustained in this incident. During her follow up appointment, Dr. Granger placed Mrs.
                   Jaccuzzo in an arm sling, ordered physical therapy three (3) times a week for one (1) month and
                   an MRI of her right shoulder.
                                                                                                                               t

                   After undergoing physical therapy treatment three (3) times a week for one (1) month with MTS-
                   LGH Therapy Services, Mrs. Jaccuzzo made minimal progress due to the persistent pain in her
                   right shoulder. On November 4, 2019, Mrs. Jaccuzzo underwent an MRI of her right shoulder with
                   Dr. Jason Brown of Envision Imaging. Dr. Brown reported tendonitis as well as a deltoid tear in
                   her right shoulder. As a result of these findings, Mrs. Jaccuzzo received a subacromial space
                   injection in her right shoulder on November 7, 20 1 9 by Dr. Granger.

                   Following the injection, Dr. Granger ordered an additional two (2) months of physical therapy
                   treatment for Mrs. Jaccuzzo' s continued pain and decreased range of motion in her right shoulder.
                   To date, Mrs. Jaccuzzo, who is currently seventy-nine (79) years old, underwent approximately
                   seven (7) months of medical treatment and physical therapy treatment for the injuries she sustained
                   as a result of the October 3, 2019 incident at Home Depot.

               .   To date, Mrs. Jaccuzzo has incurred approximately $13,829.40 in medical expenses for the medical
                   treatment she received as a result the injuries she sustained in this incident from the following
                   health care providers:


                       1.   Acadian Ambulance;
                      2.    Our Lady of Lourdes Regional Medical Center;
                       3.   Acadiana Acute Care Associates;
                      4.    Acadiana Radiology Group;
                      5.    Dr. Harold Granger of Hamilton Medical Group;
                      6.    Envision Imaging; and
                       7.   MTS-LGH Therapy Services.

                   I have enclosed a CD containing a medical bill recap along with copies of the medicals records
                   and bills related to the medical treatment Gloria Jaccuzzo received as a result of the injuries she
                   sustained in this incident.
                                                           Future Medical Care


                   Given Mrs. Jaccuzzo's age (78 years old at the time of the incident), along with the pain and
                   decreased range of motion she continues to experience in her right shoulder, it is anticipated that
                   she will require fixture medical care and treatment as a result of the injuries she sustained at Home
                   Depot on October 3, 2019.


                                                               Page 2 of 3




  8-26-2020                                                     20191003167
                                                                                                       EXHIBIT 1 120200826071455
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                                                           Settlement Offer


                 Considering all of the above, Gloria Jaccuzzo is willing to settle this matter for $125,000.00,
                 inclusive of past and future medical expenses.


                 This offer remains open for ten (10) days from the date of this letter.

                 Should you have any questions regarding this matter, please feel free to contact my office.


                 Cordially yours,




                 Kennei        . DeJean
                 KW/D/nmd
                 Enclosures:
                 cc:      Mrs. Gloria J. Jaccuzzo (Via U.S. Mail, w/o encl.)




                                                             Page 3 of 3




  8-26-2020                                                   20191003167                         EXHIBIT 1 120200826071455
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                                                                                                                                      Page 3 of 49




             Review of Systems                             Treatment
             Ortho ROS:                                    1. Dislocation, shoulder, right, initial encounter
                  Unexplained Weight Loss No.              Notes: We discussed the possibility of a scope. But she would like to keep
             Fever or Chills No, Change in                 doing therapy tissues feels like it is helping.
             Vision No. Loss of Hearing No.
             Unexplained Nosebleeds No.                    2. Bursitis of shoulder, right
             Hoarseness No.    Sore Throat No.             Notes: Same as shoulder dislocation.
             Unexplained Cough No. Chest Pain at
             Rest No. Chest Pain with Walking No.          3. Impingement syndrome of right shoulder
             Nausea or vomiting No. Blood in               Notes: Same as shoulder dislocation.
             Stool No. Frequent Heartburn No.
             Burning with Urination No. Blood in
                                                           Follow Up
             Urine No. Tea-colored Urine No.
                                                           4 Weeks
             Dizziness No. Headaches No.
             Blackouts No. Drug Addiction No.
             Alcohol Addiction No. Menopause No.
                                                           Electronically signed by Harold Granger , MI) on 1 2/06/20 1 9 at 01:20 PM
             Irregular Periods No. Back Pain with
                                                           CST                                      '
             Periods No. New Breast lumps No.
             Blood Clots No. Badly Swollen                 Sign off status: Pending
             Ankles No. Calf Pain with Walking No.
             Heart Palpitations No. Shortness of
             breath No. Earpain No.
             ALLERGY:
                  ding allergies listed elsewhere if
             present.                                                                       HMG - Orthopedics
                                                                                     4809 Ambassador Caffery Pkwy
                                                                                                  Suite 200               '
                                                                                            Lafayette, LA 70508
                                                                                             Tel:' 337-988-8855
                                                                                             Fax: 988-883-3




                        Patient: Jaccuzzo. Gloria J    DOB:                   Progress Note: Harold J. Granger, M.D.          1 2/05/20 1 9

                                  Note generated by eClinicalWorks EMR/PM Software (www.eClinicalWorks.com)

                                                                                                                                Jaccuzzo, Gloria J
                                                                                                            78 Y old Female, DOB:|
                                                                                                                          Account Number:
                        \

                                                       )
                                                                         Guarantor: Jaccuzzo, Gloria .1      Insurance:
                                                                                                                      El
                                                                                                    Appointment Facility: IIMG - Orthopedics

            1 1/07/2019                                                                                 Progress Notes: Harold J. Granger, M.D.



             Current Medications                           Reason for Appointment
             Taking                                           1 . right shoulder MRI results DOI: 1 0/29/1 8
             •   S vnihroid 25 meg (0.025 mg) tablet 1
                                                           History of Present Illness
             tab(s) orally once a day
             « metoprolol 50 mg tablet, extended           Right shoulder:
             release 1 tab(s) orally once a day                 78 year old female presents with do Pain Which began on October 3,
             « venlafaxine 25 mg tablet 1 tab(s)           20 19 After she tripped at home depot when her legs got caught in nylon wraps




                        Patient: Jaccuzzo, Gloria J DOB: 03/08/1941    Progress Note: Harold J. Granger, M.D. 1 1/07/2019
                                   Note generated by eClinicalWorks EMR/PM Software (www.eClinicalWorks.com)




                                                                           20191003167
                                                                                                          EXHIBIT 2,' IN GLOBQo-020200922045191
9-22-2020

            file Ji/C : /Users/'cfontenot/AppData/Loc aL'Temp/MedRecPrintJitml                                                                12/6/2019
            Case 6:20-cv-01331-RRS-CBW Document 1-1 Filed 10/14/20 Page 8 of 14 PageID #: 13
                                                                                                                                             Page 4 of 49




             orally 3 times a day                            that were on the floor. She dislocated her right shoulder in the incident. She
             • losarfan 25 mg tablet 1 tab(s) orally         presented to our lady of Lord's emergency room where the dislocation was
             once a day                                      reduced. She comes in for evaluation.
             • Norco 325 mg-7.5 mg tablet 1 fab(s)
             orally Q6 PRN pain, Notes: Amount                        1 1/7/19. Comes in today in her shoulder has not changed much. She did
             Medically Necessary                             get the MR! as requested..
             Nat-Taking
                                                             Vital Signs
             « naproxen 500 mg delayed release
                                                             Wt(lbs) 196, lit (in) 65 in. BP 132/74, Pain Scale 6, BMI 32.61 .
             tablet I tab(s) orally 2 times a day
             « methocarbamol 500 mg tablet 2 tab(s)          Examination
             orally 4 times a day                            Ritsht shoulder:
             « Medication List reviewed and                          INSPECTION: no muscle asymmetry, no scapular winging, no atrophy, Anterior
             reconciled with the patient                     Tenderness. ROM: Flexion: 90 degrees. Abduction: 90 ail with pain and with
                                                             assistance.. STRENGTH TESTING (OUT OP 5): Supraspinulous outlet Supra
             Past Medical History                            spiritous Stress are not testable. PALPATION: Mild diffuse tenderness . UPPER
                Hyperlipidemia.                              EXTREMITY EXAM: unremarkable, N V 1 distally. ACTIVE ROM: full
                Breast cancer.                               ROM. WOUNDS None. INSPECTION Mild swelling .
                Cataracts.                                           1 1/7/1 9. No change.
                Depression.                                  Left shoulder:
                THINNING BONES                                       INSPECTION: no muscle asymmetry, no scapular winging, no
                                                             atrophy. ROM: Flexion: 170 degrees. Ahduction: 160 degrees. External rotation: 70
             Surgical History
                                                             degrees. STRENGTH TESTING (OUT OF 5): Supraspinatous outlet negative. Supra
             hysterectomy abdominal
                                                             spiritous Stress negative. External rotation. 5/5 , Internal Rotation,
             colon surgery
                                                             565.. PALPATION: ACJ non-tender, Hawkin's sign negative. UPPER EXTREMITY
             EYE SURGERY
                                                             EXAM: NVI distally, unremarkable.
             cataract eve surgery
                                                                     1 1/7/19. No change.
             Family History                                  Imaging Studies:
             Father: deceased                                        SHOULDER X-RAY: Right shoulder views done in the emergency room
             Mother: alive, cancer (OVARIAN AND              Show pre-and post reduction of anterior shoulder dislocation. Granger,Harold J
             SKIN)                                           10/7/20)9 5:13:42 PM > , MR I Shoulder Right
             Paternal Grand Father: deceased                     IMPRESSION:
             Palcmal Grand Mother: deceased                      1 . Advanced supra.spinatus tendinosis with superimposed low to moderate
             Maternal Grand Father: deceased                     grade partial-thickness tearing, most notably anterior interstitial and bursal
             Maternal Grand Mother: deceased                     fibers.
             3 brol"her( s) • 1 son(s) , 2 daughters) .
                                                                 2. Moderate infraspinatus tendinosis with low-grade interstitial partial-
             Non-Contributory
                                                                 thickness tearing.
             Social History                                      3. Mild subscapulars tendinosis without tear. Long head biceps intra
             Smoking Are you a: never smoker.                    articular tendinosis without disruption.
             Tobacco Use other than Smoking Are
                                                                 4. Small glenohumeral joint effusion.
             you an other tobacco user? No,
             Caffeine: yes, frequency:.                          5. .Diffuse thickening and intermediate signal IGHL, thickened up to 6 mm,
             Nutritional Supplements: vitamin b3,                characteristic of adhesive capsulitis and/or capsular sprain injury.
             centrum silver.                                     6. Mild to moderate AC joint arthropathy,
             Hand: right.                                        6. Subacromial subdeltoid bursitis with a moderate-sized bursal fluid
             Walgrcens Scott.                                    collection.
             Allergies                                           7. Low-grade anterior deltoid strain injury.
             codeine                                         Granger,Harold J 1 1/7/2019 10:01:14 AM >.
             penicillin
                                                             Assessments
             Hospitalization/Major Diagnostic                1. Complete tear of right rotator cuff - M75. 121 (Primary)
             Procedure                                       2. Bursitis of shoulder, right - M75.51
             see above                                       3. Dislocation, shoulder, right, initial encounter - S43.004A

             Review of Systems                               4. Impingement syndrome of right shoulder - M75.4 1

                                                             Treatment
             Ortho ROS:




                          Patient: Jaccuzzo, Gloria .1    DOB:                   Progress Note: Harold J. Granger, M.D.               1 1/07/2019
                                     Note generated by cCliniealWorks EMR/PM Software (www.cClinicalWorks.com)




9-22-2020                                                                      20191003167
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                                                                                                                            Page 5 of 49




                  Unexplained Weight Loss No.             1. Complete tear of right rotator cuff
             Fever or Chills No. Change in                Notes: MRI did not confirm this. Showed a lot of tendinitis. We will go ahead
             Vision No. Loss of Hearing No.               and do a subacromial space injection. If she does not respond in the future wc
             Unexplained Nosebleeds No.                   may need to do EMGs to rule out a brachial plexus or axillary nerve injury.
             Hoarseness No. Sore Throat No.               We will also continue therapy.
             Unexplained Cough No. Chest Pain at
             Rest No. Chest Pain with Walking No,         2. Bursitis of shoulder, right
             Nausea or vomiting No. Blood in              Notes: Same as complete tear of right rotator cuff.
             Stool No. Frequent Heartburn No.
             Burning with Urination No. Blood in          3. Dislocation, shoulder, right, initial encounter
             Urine No. Tea-colored Urine No.              Notes: Same as complete tear of right rotator cuff.
             Dizziness No. Headaches No.
             Blackouts No. Drug Addiction No.             4. Impingement syndrome of right shoulder
             Alcohol Addiction No. Menopause No.          Notes: Same as complete tear of right rotator cuff.
             Irregular Periods No. Back Pain with
                                                          Procedures
             Periods No. New Breast lumps No.
                                                          Ortho Injections:
             Blood Clots No. Badly Swollen
                                                              Shoulder right shoulder injection given into, subacromial space, injection
             Ankles No, Calf Pain with Walking No.
                                                          given under sterile conditions, 2cc Marcaine, 2cc Lidocaine, lcc Celesfone.
             Heart Palpitations No. Shortness of
             breath No. Earpain No.
             ALLERGY:                                     Procedure Codes
                  drug allergies listed elsewhere if      20610 Arthrocentesis, aspiration and/or injection: major joint or bursa (eg,
             present.                                     shoulder, hip, knee joint, subacromial bursa)
                                                          .13490 Xylocaine. up to 5ee
                                                          J3490 Marcaine, up to 5cc
                                                          J0702 CELESTONE PER 3MG (0.25 CC) 12mg; betamethasone acetate and
                                                          betamethasone sodium phosphate

                                                          Follow lip
                                                          4 Weeks



                                                          Electronically signed by Harold Granger , MD on 12/06/2019 at 01:20 PM
                                                          CIST         '   "     "               "
                                                          Sign off status: Pending




                                                                                        1 1V1G - Orthopedics
                                                                                  4809 Ambassador Caffery Pkwv
                                                                                               Suite 200
                                                                                       Lafayette, LA 70508
                                                                                           Tel: 337-988-8855
                                                                                           Fax: 988-883-3




                        Patient: Jaccuzzo, Gloria J    DOB:                Progress Note: Harold J. Granger, M.D,   1 1/07/2019

                                  Note generated by eClinicalWorks EMR/PM Software (www.eClinicalWorks.com)

                                                                                                                      Jaccuzzo, Gloria J
                                                                                                       78 Y old Female, DOB: 03/08/1941
                                                                                                                Account Number: 551961




                        Patient: jaccuzzo, Gloria .1   DOB:                Progress Note: Harold J. Granger, M.D.   10/29/2019
                                  Note generated by eClinicalWorks EMR/PM Software (www.eClinicalWorks.com)




9-22-2020                                                              20191003167
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            Case 6:20-cv-01331-RRS-CBW Document 1-1 Filed 10/14/20 Page 10 of 14 PageID #: 15
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                                                                                                                                 Jaeeuz/.o, Gloria J
                                                                                                         78 Y old Female. DOB;
                                                                                                                       ml Number:
                                                                                                                           *>



                                                                       Guarantor: Jaccuzzo, Gloria J


                                                                                                    Appointment Facility: HMG - Orthopedics

            01/07/2020                                                                               Progress Notes: Harold J. Granger, M.D.


                                                        Reason for Appointment
                                                            1 . 4 wks rechck right, shoulder kw




                                                        Electronically signed by Harold Granger , MD on 12/06/2019 at 01:20 PM
                                                        CST

                                                        Sign off status: Pending




                                                                                          HMG - Orthopedics
                                                                                   4809 Ambassador Caffery Pkwy
                                                                                                  Suite 200            '
                                                                                          Lafayette, LA 70508
                                                                                           Tel: 337-988-8855
                                                                                          Fax: 988-883-3




                       Paticnl: jaccuzzo, Gloria J   DOB:                   Progress Note: Harold J. Granger, M.D.          01/07/2020

                                 Note generated by eClinicalWorks EMR/PM Software (vvww.eClinicalVVorks.com)

                                                                                                                                 Jaeeuz/.o, Gloria J
                                                                                                          78 Y old Female, DOB;
                      v.
                                                                                                                       Account Number:
                       V



                                                                       Guarantor: Jaccuzzo, Gloria J      Insurance:


                                                                                                    Appointment. Facility: HMG - Orthopedics


             12/05/2019                                                                              Progress Notes: Harold J. Granger, M.D.



             Current Medications                        Reason for Appointment
             Taking                                         1 . 4 wks recheck right shoulder kw DOT: 1 0/29/1 8
             » Synthroid 25 meg (0.025 mg) tablet 1
                                                        History of Present Illness
             Lab(s) orally once a day
                                                        Right shoulder:
             • metoprokil 50 mg tablet, extended                78 year old female presents with do Pain Which began on October 3,




                       Patient: Jaccuzzo, Gloria 1   DOB:                   Progress Note: Harold J. Granger, M.D.              12/05/2019
                                 Note generated by eClinicalWorks EMR/PM Software (www.eClinicalWorks.com)




9-22-2020                                                                20191003167
                                                                                                        EXHIBIT 2,' IN GLOBQ61020200922045191
             file:///C:/XJsers/cfoiitenot/AppDa.ta/LocaL/Temp/MedRecPrint..html                                                              12/6/2019
            Case 6:20-cv-01331-RRS-CBW Document 1-1 Filed 10/14/20 Page 11 of 14 PageID #: 16
                                                                                                                                            Page 2 of 49




             release .1 tab(s) orally once a day            2019 After she tripped at home depot when her legs got caught in nylon wraps
             • venlafaxine 25 nig tablet 1 tab(s)           that were on the floor. She dislocated her right shoulder in the incident. She
             orally 3 times a day                           presented to our lady of Lord's emergency room where the dislocation was
             ® losartan 25 mg tablet 1 tab(s) orally        reduced. She comes in for evaluation.
             once a day
             • Norco 325 mg-7.5 mg tablet 1 lab(s)                   12/5/19. Today her shoulder has gotten a little better. Range of motion
             orally Q6 PRN pain, Notes: Amount              has improved some. Therapy has helped some. She is having a right direction
             Medically Necessary                            but slowly..
             Not-Taking
                                                            Vital Signs
             « naproxen 500 mg delayed release
                                                            Wt(lbs) 196, Ht (in) 65 in, BP 138/72, Pain Sealed, BMI 32.61.
             tablet 1 tab(s) orally 2 times a day
             ' methocarbamol 500 mg tablet 2 tab(s)         Examination
             orally 4 times a day                           Right shoulder:
             « Medication List reviewed and                         1NSPEC DON: no muscle asymmetry, no scapular winging, no atrophy. Anterior
             reconciled with the patient                    Tenderness. ROM: Flexion: 130 degrees, Abduction: 130 all with pain and with
                                                            assistance.. STRENGTH TESTING (OUT OF 5): Supraspinatous outlet Supra
             Past Medical History                           spiritous Stress or 4 over 5 with pain.. PALPATION: Mild diffuse tenderness , tender
                Hypcrlipidcmia.                             over the bicipital groove. UPPER EXTREMITY EXAM: unremarkable, NVt
                Breast, cancer.                             distally. ACTIVE ROM: full ROM. WOUNDS None. INSPECTION Mild
                Cataracts.                                  swelling .
                Depression.                                 Left shoulder:
                THINNING BONES.                                     INSPECTION: no muscle asymmetry, no scapular winging, no
                                                            atrophy. ROM: Flexion: 170 degrees. Abduction: 1 60 degrees. External rotation: 70
             Surgical History
                                                            degrees. STRENGTH TESTING (OUT OF 5): Supraspinatous outlet negative. Supra
             hysterectomy abdominal
                                                            spiritons Stress negative. External rotation. 5/5 , Internal Rotation,
             colon surgery                                  5/5.. PALPATION: ACJ non-tender, Hawkin's sign negative. UPPER EXTREMITY
             EYE SURGERY
                                                            EXAM: XVI distally, unremarkable.
             cataract eye surgery
                                                               12/5/19, No change.
             Family History                                 Imaging Studies:
             Father: deceased                                  SHOULDER X-RAY: Right shoulder view's done in the emergency room
             Mother: alive, cancer (OVARIAN AND             Show pre-and post reduction of anterior shoulder dislocation. Granger.Harold J
             SKIN)                                              10/7/20195:13:42 PM > . MR1 Shoulder Right
             Paternal Grand Father: deceased                    IMPRESSION:
             Paternal Grand Mother: deceased                    1 . Advanced supraspinatus tendinosis with superimposed low to moderate
             Maternal Grand Father: deceased                    grade partial-thickness tearing, most notably anterior interstitial and bursal
             Maternal Grand Mother: deceased                    fibers.
             3 brother(s) . 1 son(s) , 2 daughter(s) .
                                                                2. Moderate infraspinatus tendinosis with low-grade interstitial partial-
             Non-Contributory
                                                                thickness tearing.
             Social History                                     3. Mild subscapulars tendinosis without tear. Long head biceps intra
             Smoking Are you a: never smoker.                   articular tendinosis without disruption.
             Tobacco LIse other than Smoking Are
                                                                4. Small glenohumeral joint effusion.
             you an other tobacco user? No.
             Caffeine; yes, frequency:.                         5. Diffuse thickening and intermediate signal 1GHL, thickened up to 6 mm,

             Nutritional Supplements: vitamin b3,               characteristic of adhesive capsulitis and/or capsular sprain injury.

             centrum silver.                                    6. Mild to moderate AC joint arthropathy.
             Hand: right.                                       6. Subacromial subdeltoid bursitis with a moderate-sized bursal fluid
             Walgreens Scott.                                   collection.

             Allergies                                          7. Low-grade anterior deltoid strain injury.
             codeine                                        GrangerJIarold J 1 1/7/201 9 10:01 : 14 AM >.
             penicillin
                                                            Assessments
             Hospitalization/Major Diagnostic               1 . Dislocation, shoulder, right, initial encounter - S43.004A (Primary)
             Procedure                                      2. Bursitis of shoulder, right - M75.51
             see above                                      3. impingement syndrome of right shoulder - M75.41




                          Patient; Jaccuzzo, Gloria J    DOB:                    Progress Note: Harold J. Granger, M.D.              12/03/2019
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              Review of Systems                             Treatment
              Ortho ROS:                                    1. Dislocation, shoulder, right, initial encounter
                   Unexplained Weight Loss No.              Notes: We discussed the possibility of a scope. But she would like to keep
              Fever or Chills No. Change in                 doing therapy tissues feels like it is helping.
              Vision No. Loss of Hearing No.
              Unexplained Nosebleeds No.                    2, Bursitis of shoulder, right
              Hoarseness No. Sore Throat No.                Notes: Same as shoulder dislocation.
              Unexplained Cough No. Chest Pain at
              Rest No. Chest Pain with Walking No.          3. Impingement syndrome of right shoulder
              Nausea or vomiting No. Blood in               Notes: Same as shoulder dislocation.
              Stool No, Frequent Heartburn No.
             Burning with Urination No. Blood in
                                                            Follow Up
             Urine No. Tea-colored Urine No.
                                                            4 Weeks
              Dizziness No. Headaches No.
             Blackouts No. Drug Addiction No.
             Alcohol Addiction No. Menopause No.
                                                            Electronically signed by Harold Granger , MD on 1 2/06/20 1 9 at 01:20 PM
              Irregular Periods No. Back Pain with
                                                            CST
              Periods No. New Breast lumps No.
              Blood Clots No. Badly Swollen                 Sign off status: Pending
              Ankles No. Calf Pain with Walking No.
             Heart Palpitations No. Shortness of
              breath No. Earpain No.
              ALLERGY:
                   drag allergies listed elsewhere if
              present.                                                                     HMG - Orthopedics
                                                                                     4809 Ambassador Cattery Pkwy
                                                                                                 Suite 200                 "
                                                                                           Lafayette, LA 70508
                                                                                             Tel: 337-988-8855
                                                                                            Fax: 988-883-3




                         Patient: Jaccuzzo. Gloria J    DOB:                  Progress Note: Harold J. Granger, M.D.           1 2/05/20 1 9

                                   Note generated by eClinicalWorks EMR/PM Software (www.eClinicalWorks.com)


                                                                                                                         Jaccuzzo, Gloria J
                                                                                                          78 Y old Female. DOB:
                                                                                                                           Account Number:
                           v



                                                    v.*                 Guarantor: Jaccuzzo, Gloria J         Insurance:


                                                                                                    Appointment Facility: IIMG - Orthopedics

             1 1/07/2019                                                                             Progress Notes: Harold .1. Granger, M.D.


             Current Medications                            Reason for Appointment
             Taking                                         1 . right shoulder MRI results DOI: 1 0/29/18
             «   Synthroid 25 meg (0.025 mg) tablet 1
                                                            History of Present Illness
             tab(s) orally once a day
             « metoprolol 50 mg tablet, extended
                                                            Right shoulder:
             release 1 tab(s) orally once a day
                                                                78 year old female presents with do Pain Which began on October 3,
              • venlafaxine 25 mg tablet 1 tab(s)           201.9 After she hipped at home depot when her legs got caught, in nylon wraps




                         Patient: jaccuzzo, Gloria .I   DOB: 03/08/1941       Progress Note: Harold J. Granger, M.D.           11/07/2019
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               PATIENT NAME;               Jaccuzzo, Gloria
               BIRTH DATE:
                                                                                               /) ENVISION ir.AG^G
                                                                                                1                             K Z A 1) •" A \- A
               MP!#:
               DATE OF EXAM:               11/4/2019


               REFERRED BY:                Harold Granger, MD
                                           4809 Ambassador Caffery Pkwy - Ste 200
                                           Lafayette. LA 70508


              EXAM:       MR SHOULDER RIGHT WO CONTRAST


              CLINICAL HISTORY: Trauma. Fall, Pain in right shoulde
                                                                    r. Limited range of motion. Complete tear
              of right rotator cuff.



             TECHNIQUE:         MR right shoulder performed multiplanar proton-density,
                                                                                        T2, and T 1 -weighted
             sequences.




             COMPARISON STUDY: None.


             FINDINGS: There is advanced supraspinatus tendinosis
                                                                    with diffuse increased signal and
             thickening with superimposed low to moderate grade partial
                                                                        -thickness tearing, most notably
             involving the anterior interstitial and bursal fibers.


             There is moderate infraspinatus tendinosis with low-gra
                                                                    de interstitial partial-thickness tearing critical
             zone. Mild subscapular^ tendinosis without tear.


            Long head biceps intra-articular tendinosis without disrupt
                                                                        ion. Negative for labral tear. Normal
            glenohumera! alignment. Small glenohumerai joint effusion
                                                                         . There is diffuse thickening and
            intermediate signal IGHL, thickened up to 6 mm, charac
                                                                      teristic of adhesive capsulitis and/or
            capsular sprain injury. No evidence of a full-thickness capsula
                                                                              r disruption. Glenohumera! chondral
            surfaces are well preserved.


            Type I acromion without tilting. Mild to moderate AC joint
                                                                       arthropathy with mild spurring and
            prominent capsular thickening with clavicular head cyst-lik
                                                                        e signal. Subacromial subdeltoid bursitis
            with a moderate-sized bursa! fluid collection.



            The bone marrow signal intensity is otherwise unremarkable.
                                                                           The signal intensity of the muscle
            groups is normal other than minimal anterior deltoid intramu
                                                                         scular swelling suggestive of iow-grade
            strain injury.



            Page 1 of 2           856-8 Kaliste Saioom Rd Lafayette, LA 70508 - Phone: (337)593-8
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             PATIENT NAME:              Jaccuzzo, Gloria
             BIRTH DATE:                                                                  O ENVIS[0^!|^G»NG
                                                                                          "                              A C A ;> : A   A
             MP!#:
             DATE OF EXAM:              11/4/2019


            IMPRESSION:


            1 , Advanced supraspinatus tendinosis with superimposed Sow to moderate grade
                                                                                          partial-thickness
            tearing, most notably anterior interstitial and bursal fibers.


            2. Moderate infraspinatus tendinosis with low-grade interstitial partial -thicknes
                                                                                              s tearing.


            3. Mild subscapularis tendinosis without tear. Long head biceps intra-artic
                                                                                        ular tendinosis without
            disruption.



            4. Small glenohumerai joint effusion.


            5. Diffuse thickening and intermediate signal IGHL, thickened up to 6 mm,
                                                                                      characteristic of adhesive
            capsulitis and/or capsular sprain injury.


            6. Mild to moderate AC joint arthropathy.


            6. Subacromial subdeltoid bursitis with a moderate-sized bursal fluid collection
                                                                                             .


            7, Low-grade anterior deltoid strain injury.



            Finalized by: 1 1/5/2019 8:34 AM By: Jason Brown MP



            Jason Brown,
            This document was electronically signed by Jason Brown, on 1 1/5/2019




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